                          UNITED STATES DISTRICT COURT                               Motion GRANTED.
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )    No. 3:14--00104-3
                                                   )    Judge Trauger
ALVIN DEWITT PARKER,                               )
     Defendant.                                    )

        Comes now the Defendant. Alvin DeWitt Parker, by and through counsel and respectfully

requests that his attorney be excused from the status conference presently scheduled for September

11, 2015. (Doc. 247). For cause, the Defendant would show the court that his attorney is scheduled

to be out of town on that date and that the Defendant will be pleading guilty at his guilty plea hearing

that is presently scheduled for September 24, 2015.

                                                        Respectfully submitted,


                                                        s/Thomas F. Bloom

                                                        Thomas F. Bloom
                                                        BPR # 11950
                                                        911 Marengo Lane
                                                        Nashville, TN. 37204
                                                        (615) 260-5952

                                  CERTIFICATE OF SERVICE


       I hereby certify that I have provided a true and exact copy of the foregoing to all
interested parties via the ECF system on this 2d day of September, 2015.

                                                                s/ Thomas F. Bloom




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